      Case 4:17-cv-02095 Document 14 Filed in TXSD on 01/02/18 Page 1 of 3



                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 HOUSTON HOME DIALYSIS, LP,                 §
                                            §
                              Plaintiff,    §
                                            §
 v.                                         §
                                            §       CIVIL ACTION NO. 4:17-cv-02095
 BLUE CROSS and BLUE SHIELD OF              §
 TEXAS, A DIVISION of HEALTH                §
 CARE SERVICE CORPORATION, A                §
 MUTUAL RESERVE COMPANY,                    §
 and HORIZON BLUE CROSS BLUE                §
 SHIELD OF NEW JERSEY                       §
                                            §
                           Defendants.      §

                                PLAINTIFF’S JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiff Houston Home Dialysis, LP

demands a jury on all issues so triable.
Case 4:17-cv-02095 Document 14 Filed in TXSD on 01/02/18 Page 2 of 3



                                     Respectfully submitted,

                                     BAKER • WOTRING LLP

                                     /s/ Earnest W. Wotring
                                     Earnest W. Wotring
                                     Attorney-in-Charge
                                     Texas Bar No. 22012400
                                     Southern District No. 15284
                                     David George
                                     Texas Bar No. 00793212
                                     Southern District No. 19330
                                     Karen Dow
                                     Texas Bar No. 06066800
                                     Southern District No. 18776
                                     700 JPMorgan Chase Tower
                                     600 Travis
                                     Houston, Texas 77002
                                     Tel. (713) 980-1700
                                     Fax     (713) 980-1701
                                     ewotring@bakerwotring.com
                                     dgeorge@bakerwotring.com
                                     kdow@bakerwotring.com

                                     ATTORNEYS FOR PLAINTIFF
                                     HOUSTON HOME DIALYSIS, LP




                                 2
     Case 4:17-cv-02095 Document 14 Filed in TXSD on 01/02/18 Page 3 of 3



                               CERTIFICATE OF SERVICE

       I hereby certify that on January 2, 2018, a copy of the above was served on all counsel of
record via the Court’s electronic filing system.

       Martin J. Bishop
       Thomas Hardy
       Reed Smith LLP
       10 S. Wacker Drive
       40th Floor
       Chicago, IL 60606
       mbishop@reedsmith.com
       thardy@reedsmith.com

       Attorneys for Texas Blue Cross


                             /s/ Earnest W. Wotring
                             Earnest W. Wotring




                                               3
